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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                 :          CIVIL ACTION
 JESSICA HOL                                     :
                                                 :
                        v.                       :
                                                 :
                                                 :
  INGLIS HOUSE FOUNDATION                        :          NO. 18-3428



                                             O R D E R

          AND NOW, this               22nd   day of         March          , 2019 it
having been reported that the issues between the parties in the
above action have been settled and upon Order of the Court pursuant
to the provisions of Rule 41.1(b) of the Local Rules of Civil
Procedure of this Court, it is


          ORDERED that the above action is DISMISSED with prejudice,
pursuant to the agreement of counsel without costs.

                                                      Kate Barkman
                                                      Clerk of Court


                                                            /s/ Kristin R. Makely
                                                      By:   ______________________
                                                            Kristin R. Makely,
                                                            Deputy Clerk




Civ. 2 41.1(b) (3/18)
